            Case 1:18-cr-00219-AT Document 183 Filed 11/09/20 Page 1 of 2

                                                                  USDC SDNY
UNITED STATES DISTRICT COURT                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                     ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                         DOC #: _________________
                                                                  DATE FILED: __11/9/2020__

              -against-
                                                                             18 Cr. 219-6 (AT)
CATALINO LOPEZ,
                                                                                  ORDER
                       Defendant.
ANALISA TORRES, District Judge:

       The sentencing scheduled for February 3, 2021, is ADJOURNED to February 24, 2021, at
9:00 a.m. Defendant’s submissions are due two weeks prior to sentencing. The Government’s
submissions are due one week prior to sentencing.

        Upon request from the Probation Office, the first disclosure of the presentence investigation
report shall be November 30, 2020, and the second disclosure of the presentence investigation report
shall be December 28, 2020.

       SO ORDERED.

Dated: November 9, 2020
       New York, New York
Case 1:18-cr-00219-AT Document 183 Filed 11/09/20 Page 2 of 2
